  Case 5:12-cv-05209-JLH Document 5             Filed 11/28/12 Page 1 of 2 PageID #: 20



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

JESSE HENSON,                               )
                                            )
                     Plaintiff,             )       5:12-cv-05209-JLH
                                            )
       v.                                   )       Judge Hendren
                                            )
FULL SPECTRUM LITIGATION                    )
COMPANY, LLC.,                              )
                                            )
                     Defendant.             )

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
                         PURSUANT TO SETTLEMENT

       NOW COMES the Plaintiff, JESSE HENSON, by and through his attorneys,

SMITHMARCO, P.C., and for his Notice of Voluntary Dismissal, Plaintiff states as follows:

       1.     Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

              hereby notifies this Honorable Court that the Plaintiff voluntarily dismisses his

              case pursuant to a settlement agreement reached by the parties.

       2.     The Defendant in this case has filed neither an answer to Plaintiff’s complaint nor

              a motion for summary judgment.

       3.     Plaintiff requests that this case be dismissed with prejudice and without costs to

              any party, all costs having been paid and all matters in controversy for which this

              action was brought having been fully settled, compromised and adjourned.


                                                           Respectfully submitted,
                                                           JESSE HENSON

                                                    By:     s/ David M. Marco
                                                            Attorney for Plaintiff




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Case 5:12-cv-05209-JLH Document 5        Filed 11/28/12 Page 2 of 2 PageID #: 21




 Dated: November 28, 2012

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                                         2
